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                                 UNITED STATES DISTRICT COURT

                              NORTHERN DISTRICT OF CALIFORNIA

IN RE: CATHODE RAY TUBE (CRT)                          )
ANTITRUST LITIGATION                                   )      Case No: 3:07-cv-5944 SC             MDL No. 1917
                                                       )
                                                       )      APPLICATION OF DIANA ARLEN
                                                       )      AGUILAR ALDAPE FOR
This document relates to:                              )      ADMISSION OF ATTORNEY
ALL ACTIONS                                            )      PRO HAC VICE
                                                       )      (CIVIL LOCAL RULE 11-3)
                                                       )


    I, Diana Arlen Aguilar Aldape, an active member in good standing ofthe bar of
  the State of New York , hereby respectfully apply for admission to practice pro hac vice in the
Northern District of California representing: Panasonic Corporation, Panasonic Corporation of North
America, and MT Picture Display Co., Ltd. , in the above-entitled action. My local co-counsel in this
case is Gregory D. Hull, an attorney who is a member ofthe bar of this Court in good standing and who
maintains an office within the State of California.
MY ADDRESS OF RECORD:                                      LOCAL CO-COUNSEL'S ADDRESS OF RECORD:
Wei!, Gotshal & Manges LLP                                 Wei!, Gotshal & Manges LLP, 201 Redwood
767 Fifth A venue, New York, NY 10153                      Shores Pkwy., Redwood Shores, CA 94065
MY TELEPHONE# OF RECORD:                                   LOCAL CO-COUNSEL'S TELEPHONE# OF RECORD:
(212) 310-8000                                             (650) 802-3000
MY EMAIL ADDRESS OF RECORD:                                LOCAL CO-COUNSEL'S EMAIL ADDRESS OF RECORD:
diana.aguilar@weil.com                                     greg.hull@weil.com

    I am an active member in good standing of a United States Court or ofthe highest court of another
State or the District of Columbia, as indicated above; my bar number is: _,5"-'1,_4,_,2'-"6""8"'-2_ _ _ _ __
     A true and correct copy of a certificate of good standing or equivalent official document from said bar
is attached to this application.
    I agree to familiarize myself with, and abide by, the Local Rules ofthis Court, especially the
Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local Rules.
    I declare under penalty ofperjury that the foregoing is t T i d correclfl
Dated: August 7, 2013                                               /   ~            ----f1==----=-----
                                                                                    PL


                                ORDER GRANTING APPLICATION
                           FOR ADMISSION OF ATTORNEY PRO HAC VICE
    IT IS HEREBY ORDERED THAT the application of Diana Arlen Aguilar Aldape is granted,
subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney must indicate
appearance pro hac vice. Service of papers upon, and communication with, local co-counsel designated in
the application will constitute notice to the party.

Dated:
                                                             SAMUEL CONTI
                                                             UNITED STATES DISTRICT JUDGE



PRO HAC VICE APPLICATION & ORDER                                                                      August 2013
